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IN THE UNITED STATES DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE OSH&YfS §H E=SU
wEsTERN DIvIsION

 

 

THE CLARK CONSTRUCTION GROUP,
INC.,

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)
Plaintiff, )
)
v. ) No. 01-2780 Ma/A
)
CITY oF MEMPHIS and THE )
MEMPHIS COOK coNvENTION )
cENTER COMMISSION, )
)
Defendants and Third- )
Party Plaintiffs, )
)
)
)
)
)
)
)

V.

WILLIAMSON, HAIZLIP, POUNDERS
& PICKERING,

Third-Party Defendant.

 

ORDER AFFIRMING MAGISTRATE JUDGE’S DECISION IMPOSING SANCTIONS
FOR DOCUMENT DESTRUCTION

 

Before the court is the Defendants' objection to the
magistrate judge's order imposing sanctions on them, filed March
25, 2005. Plaintiff responded to the motion on April 12, 2005.
For the following reasons, the magistrate judge's order is
AFFIRMED.

This court may reject a magistrate judge’s decision about a
nondispositive matter only if that decision is “clearly erroneous
or contrary to law.” 28 U.S.C. § 636(b)(l)(A); Fed. R. Civ. P.

72(a). See MasseV v. CitV of Ferndale, 7 F.3d 506, 509 (Gth Cir.

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1993). A decision is clearly erroneous when the court “is left
with the definite and firm conviction that a wdstake has been
committed.” United States v. United States vasum Co., 333 U.S.
364, 395 (1948). “[T]he clearly erroneous standard only requires
the reviewing court to determine if there is any' evidence to
support the magistrate judge's finding and that the finding was
reasonable.” Tri-Star Airlines, Inc. v. Willis Careen Corp. of Los
Angeles, 75 F. Supp. 2d 835, 839 (W.D. Tenn. l999)(citing Heights
Communitv Congress v. Hilltop Realtv, Inc., 774 F.2d 135, 140 (6th

Cir. 1985).

Magistrate Judge Anderson found the Defendants in violation of
a prior court order specifically enjoining them from destroying any
documents relevant to the Cook Convention Center expansion project.
He found that the Defendants were “grossly negligent” in destroying
the documents and granted Plaintiff a “rebuttable adverse inference
establishing that the City had documents within its possession
which most likely would have been relevant to this case; however,
the City failed to preserve these documents, and the documents were
destroyed.” The Defendants argue that the adverse-inference
sanction was legal error because their spoliation of evidence was

not intentional, but only grossly negligent.

“The rules that apply to the spoiling of evidence and the
range of appropriate sanctions are defined by state law.” Beck v.
Haik, 377 F.3d 624, 641 {6th Cir. 2004). In Tennessee, “[t]rial

courts have wide discretion to determine the appropriate sanction

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to be imposed” for discovery abuse. Mercer v. Vanderbilt
Universityc Inc., 134 8.W.3d 121, 133 (Tenn. 2004). “The doctrine

of spoliation permits a court to draw a negative inference against
a party' that has intentionallyg and for an improper' purpose,
destroyed, mutilated, lost, altered, or concealed evidence.”
Bronson v. Umphries, 138 S.W 3d 844, 854 (Tenn. Ct. App. 2003).
The magistrate judge noted that the Defendants’ conduct appeared to
fall short of the Bronson standard but found that “trial judges
have the authority to take such action as is necessary to prevent

discovery abuse.” Mercer, 134 S.W.Bd at 133.

The Defendants' argument about the content of Tennessee law
ignores the nature of their wrongful conduct. The sanction was
imposed on them not only in response to the spoliation of evidence
but also for the violation of a standing federal court order. A
trial court's discretion to impose sanctions for violations of its
discovery orders is broad, and the magistrate judge’s decision is
well within the accepted range of penalties. §ee Fed. R. Civ. P.
37(b) (2); Phillips v. COhen, 400 F.3d 388, 401-02 {6th Cir. 2005).
Thus, the Defendants have not shown that the magistrate judge's

order was clearly erroneous or contrary to law.

For the foregoing reasons, the magistrate judge's order

imposing sanctions for document destruction is AFFIRMED.

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so ORDERED this lzdday of May 2005.

SA.MUEL H. MAYS, JR.
UNI'I'ED STA'I'ES DISTRICT JUDGE

 

   

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Honorable Samuel Mays
US DISTRICT COURT

